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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

Chapter 1 1
In re: Case No. 18-12635 (LSS)
DAVID’S BRIDAL, INC. et aZI. , Jointly Adrninistered

Debtors.

 

NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF
PAPERS, AND REQUEST TO BE ADDED TO MASTER SERVICE LIST

Please take notice that the undersigned appear as attorneys in the above captioned case on
behalf of AGREE Lll\/IITED PARTNERSHIP, RAMCO WEST OAKS 11 LLC, and VILLA
VIEW, LLC and pursuant to 11 U.S.C. § 1109(b) and Banl<ruptcy Rule 9010(b); and such
counsel hereby requests, pursuant to Banl<ruptcy Rules 2002, 3017 and 9007 and 11 U.S.C. §
342 and 1109(b), that copies of all notices and pleadings given or filed in these cases be given
and served upon the paities listed at the address and telephone listed beloW, and that counsel be
added to the Master Service List in this case.

David M. Blau, Esq.
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1 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are: David’s
Bridal, lnc. (4563); DB lnvestors, Inc. (8503)’; DB Holdco, Inc. (4567); and DB Midco lnc. (3096). The location of the Debtors;
corporate headquarters is 1001 Washington Street, Conshohocken, PA 19428.

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Please take further notice that, pursuant to 11 U.S.C. § 1109(b), the foregoing demand

includes not only the notices and papers referred to in the Banl<ruptcy Rules specified above, but

also includes, Without limitation, any notice, application, complaint, demand, motion, petition,

pleading or request, Whether formal or inforrnal, Written, or oral, and Whether transmitter or

conveyed by mail, delivery, telephone, telegraph, teleX, e-mail or otherwise filed or made With

regard to the referenced cases and proceedings herein.

Dated: November 26, 2018

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Respectfully submitted,
CLARK HILL, PLC

/s/Karen M. Grz`vner

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and

David M. Blau (MI P52542) (Pro hac vice admission
requested)

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A!torney for Ag)'ee Liml'z‘ed Par)‘ne)'ship, Ramco West Oaks 11
LLC, and Vz`l/a View, LLC

 

 

